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           EXHIBIT 26
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Analysis of Scheduled Airline Traffic
COMPARATIVE TRAFFIC REPORT                                                                                            San Francisco International Airport
Aug 2024

                                                                                   Monthly Comparison                                           Calendar Year-to-Date
                                                               Aug 2024               Aug 2023          % Change                        2024            2023     % Change
                                                    1               34,733                34,796              -0.2%                   248,772         254,316        -2.2%
Air Traffic Control Tower Operations Count
                Air Carrier                                         32,224                31,665               1.8%                   229,345         227,641        0.7%
                Air Taxi                                             1,735                  2,378            -27.0%                    13,394          20,259       -33.9%
                Civil                                                   564                   522              8.0%                     4,229            4,571       -7.5%
                Military                                                210                   231             -9.1%                     1,804            1,845       -2.2%


Total Revenue Landings                                              16,077                16,093              -0.1%                   114,924         119,378        -3.7%
      Mainline Passenger                                            13,076                12,549               4.2%                    91,248          89,226        2.3%
      Commuter Passenger                                             2,769                  3,321            -16.6%                    21,897          28,438       -23.0%
      Cargo Only                                                        232                   223              4.0%                     1,779            1,714       3.8%


Revenue Landed Weight (000 lbs.)                                3,235,464              3,222,340               0.4%              23,345,283         22,995,256       1.5%


Total Airport Passengers2                                       4,868,579              4,736,523               2.8%              34,365,197         33,129,416       3.7%

Total Enplaned & Deplaned                                       4,851,557              4,718,823               2.8%              34,260,545         33,033,030       3.7%
      Total Enplaned                                            2,385,664              2,317,631               2.9%              17,047,544         16,423,653       3.8%
      Total Deplaned                                            2,465,893              2,401,192               2.7%              17,213,001         16,609,377       3.6%

Domestic                                                        3,354,366              3,338,019               0.5%              23,642,956         23,760,287       -0.5%
      Enplanements                                              1,683,238              1,665,705               1.1%              11,819,785         11,859,202       -0.3%
      Deplanements                                              1,671,128              1,672,314              -0.1%              11,823,171         11,901,085       -0.7%

International                                                   1,497,191              1,380,804               8.4%              10,617,589          9,272,743      14.5%
      Enplanements                                                 702,426               651,926               7.7%               5,227,759          4,564,451      14.5%
      Deplanements                                                 794,765               728,878               9.0%               5,389,830          4,708,292      14.5%


Total U.S. Mail (metric tons)                                         1,007                 1,060             -5.0%                     8,805          12,839       -31.4%
      Domestic                                                          432                   597            -27.6%                     4,172            8,963      -53.5%
      International                                                     575                   463             24.2%                     4,633            3,876      19.5%


Total Cargo3 (metric tons)                                          47,793                40,222              18.8%                   362,716         292,062       24.2%
      Domestic                                                      16,441                15,949               3.1%                   126,315         112,545       12.2%
      International                                                 31,352                24,273              29.2%                   236,401         179,517       31.7%


Total Cargo and U.S. Mail (metric tons)                             48,801                41,282              18.2%                   371,521         304,901       21.8%


Cars Exited (Garage and Lot)                                       268,999               274,597              -2.0%               2,123,187          2,098,647       1.2%

1
    Categories defined as follows:
         Air Carrier - Commercial airlines and charters of aircraft with more than 60 seats (Terminal and FBO operations included).
         Air Taxi - Commercial airlines and charters of aircraft with 60 seats or less (Terminal and FBO operations included).
         Civil - Privately operated aircraft
         Military - Military Aircraft
2
    Total airport passengers include total enplaned and deplaned passengers and passengers who fly into and out of SFO on the same aircraft.
3
    Excludes mail




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Analysis of Scheduled Airline Traffic
INTERNATIONAL SUMMARY REPORT                                                                                San Francisco International Airport
Aug 2024



                                                                             Monthly Comparison                                        Calendar Year-to-Date
                                                             Aug 2024            Aug 2023       % Change                       2024                 2023    % Change
International Flight Operations                                    7,404               6,828            8.4%                  53,168              46,386       14.6%
Domestic Carriers                                                  2,972               2,660           11.7%                  21,820              18,632       17.1%
Foreign Flag Carriers                                              4,432               4,168            6.3%                  31,346              27,754       12.9%


Total Airport International Passengers **                     1,513,257           1,396,104             8.4%             10,707,367            9,356,475       14.4%

Total International Enplaned and Deplaned                     1,497,191           1,380,804             8.4%             10,617,589            9,272,743       14.5%

   Europe                                                       465,783             446,410             4.3%              2,786,705            2,718,674        2.5%
      Enplanements                                              227,349             218,388             4.1%              1,401,233            1,355,332        3.4%
      Deplanements                                              238,434             228,022             4.6%              1,385,472            1,363,342        1.6%

   Asia/Middle East                                             583,464             508,216            14.8%              4,548,139            3,568,404       27.5%
      Enplanements                                              258,397             228,126            13.3%              2,205,404            1,729,201       27.5%
      Deplanements                                              325,067             280,090            16.1%              2,342,735            1,839,203       27.4%

   Australia/Oceania                                              74,785             74,785             0.0%                660,275              588,197       12.3%
      Enplanements                                                34,039             33,335             2.1%                319,810              284,544       12.4%
      Deplanements                                                40,746             41,450            -1.7%                340,465              303,653       12.1%

   Latin America                                                145,927             138,466             5.4%              1,310,536            1,144,683       14.5%
      Enplanements                                                68,104             65,868             3.4%                646,031              566,844       14.0%
      Deplanements                                                77,823             72,598             7.2%                664,505              577,839       15.0%

   Canada                                                       227,232             212,927             6.7%              1,311,934            1,252,785        4.7%
      Enplanements                                              114,537             106,209             7.8%                655,281              628,530        4.3%
      Deplanements                                              112,695             106,718             5.6%                656,653              624,255        5.2%


Total International Cargo & Mail (metric tons)                    31,927             24,736            29.1%                241,034              183,393       31.4%
   Europe                                                          7,214               5,559           29.8%                  51,606              45,706       12.9%
   Asia/Middle East                                               21,722             16,888            28.6%                164,833              119,702       37.7%
   Australia/Oceania                                               2,896               2,031           42.6%                  23,944              16,042       49.3%
   Latin America                                                       79                  59          33.2%                     425                  383      11.1%
   Canada                                                              15                198          -92.2%                     226                1,560      -85.5%



** Total airport international passengers include total enplaned and deplaned passengers and passengers who fly into and out of SFO on the same aircraft




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